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 1                                                                     Honorable Judge Robert S. Lasnik
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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                      SEATTLE DIVISION
 9   QUINN LUV MORGAN,                                   Case No. 2:21-cv-00108-RSL
10
                    Plaintiff,                           ORDER GRANTING STIPULATED
11                                                       MOTION FOR WITHDRAWAL AND
            vs.                                          SUBSTITUTION OF COUNSEL
12
     TEM EXPRESS LOGISTICS, INC.,
13

14                  Defendant.

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16         This matter came before this Court on the Stipulated Motion for Withdrawal and
17   Substitution of Counsel. The Court is fully advised.
18         IT IS HEREBY ORDERED:
19         1.       Teruyuki S. Olsen and Caleb Stewart of the law firm Oseran Hahn, P.S. withdraw
20                  as counsel of record for Defendant TEM Express Logistics, Inc.;
21         2.       Teruyuki S. Olsen and Caleb Stewart of the law firm Oseran Hahn, P.S. are
22                  removed from the electronic service list in this case; and
23         3.       Adam T. Pankratz and Kyle D. Nelson of the law firm Ogletree, Deakins, Nash,
24                  Smoak & Stewart, P.C. are substituted as counsel for Defendant TEM Express
25                  Logistics, Inc.
26   //


     ORDER GRANTING STIPULATED MOTION               OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
     FOR WITHDRAWAL AND SUBSTITUTION                       1201 Third Avenue, Suite 5150 | Seattle, WA 98101
     OF COUNSEL - 1 Case No. 2:21-cv-00108-RSL                     Phone: 206-693-7057 | Fax: 206-693-7058
              Case 2:21-cv-00108-RSL Document 15 Filed 03/25/21 Page 2 of 3



 1                     24th
           Dated this ________           March
                                             ch
                               day of _______________________,
                                             ________________, 2021.

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 3
                                                 JUDGE ROBERT S
                                                              S. LASNIK
 4                                               UNITED STATES DISTRICT JUDGE

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 6   Presented by:
 7
     OGLETREE, DEAKINS, NASH,
 8   SMOAK & STEWART, P.C.
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     By: /s/ Adam T. Pankratz
10   By: /s/ Kyle D. Nelson
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        Kyle D. Nelson, WSBA #49981
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                   kyle.nelson@ogletree.com
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     Substituting Attorneys for Defendant
17   TEM Express Logistics, Inc.

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19   Approved as to Form; Presentation Waived:

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     By: /s/ Alexander J. Higgins
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     Attorneys for Plaintiff Quinn Luv Morgan
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              Case 2:21-cv-00108-RSL Document 15 Filed 03/25/21 Page 3 of 3



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     OSERAN HAHN, P.S.
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     Withdrawing Attorneys for Defendant
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